                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

    In the Matter of:
                                                      }
    SARAI SERVICES GROUP, INC. 1                      }
    EIN: XX-XXX2969                                   }    Case No. 18-82948-CRJ-11
                                                      }
                                                      }    Chapter 11
                                                      }
                                                      }
                                    Debtor(s)         }


     ORDER: (1) CONTINUING CONFIRMATION HEARING ON FOURTH AMENDED
     JOINT PLAN OF REORGANIZATION OF DEBTORS SARAI SERVICES GROUP,
      INC., SSGWWJV, LLC, AND SARAI INVESTMENT CORPORATION; AND (2)
                      SCHEDULING STATUS CONFERENCE

          This case is before the Court on Debtor’s Motion to Continue Confirmation Hearing and

Request for Status Conference. The Debtor requests a continuance of the Confirmation Hearing

currently scheduled on August 10, 2020, along with the setting of a Status Conference to allow the

Debtor to report whether continuing this Chapter 11 case is feasible and in the best interest of the

Debtor and its bankruptcy estate as a whole. For cause shown, it is hereby

           ORDERED, ADJUDGED and DECREED that the Motion to Continue Confirmation

Hearing and Request for Status Conference is APPROVED. The hearing on confirmation of the

Fourth Amended Joint Plan of Reorganization dated April 27, 2020, the Objection to Confirmation

filed by the Internal Revenue Service, the Bankruptcy Administrator’s Objection to Confirmation,

and the Debtor’s Response will be held on Wednesday, August 26, 2020 at 11:00 a.m. before the

Honorable Clifton R. Jessup, Jr.



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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-892949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No.
18-82951-CRJ-11.




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       IT IS FURTHER ORDERED that counsel for the Debtor must appear telephonically at

the Status Conference on August 26, 2020 at 11:00 a.m. to discuss the feasibility of continuing

this Chapter 11 case.

        The hearing will be held via an AT&T call-in number. The dial-in number is 1-877-336-
1280. When prompted, enter the access code #2749965. There is no security code, and please do
not select any other feature. Other cases or matters may be scheduled for telephonic hearing at the
same time. Parties should call in five minutes prior to the start of the hearing. Once connected,
please mute your phone until your case is called. After your hearing is completed, please hang up
to end your call. To avoid disruption, telephonic hearing participants are expected to call from a
quiet location and are not permitted to use a "speaker" function or to place the call on hold (as this
may cause music or other noises to play during the hearings of other participants). Participants
are encouraged to call from a landline if possible.

     THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME
TO THE COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL
INFORMATION (www.alnb.uscourts.gov).

Dated this the 4th day of August 2020.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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